968 F.2d 1226
    NOTICE: Federal Circuit Local Rule 47.8(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.Rexford MURPHY and Debbie Fields Murphy, parents and nextfriends of Christopher Carl Murphy, Petitioners/Appellants,v.SECRETARY OF THE DEPARTMENT OF HEALTH AND HUMAN SERVICES,Respondent/Appellee.
    No. 92-5002.
    United States Court of Appeals, Federal Circuit.
    May 6, 1992.Rehearing Denied June 4, 1992.Suggestion for Rehearing In BancDeclined July 8, 1992.
    
      Before ARCHER, MAYER and MICHEL, Circuit Judges.
      Judgment
      PER CURIAM.
    
    
      1
      AFFIRMED.  Fed.Cir.R. 36.
    
    